                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

JAMES MARABLE and KIM MARABLE,            )
                                          )
                  Plaintiffs,             )
                                          )
v.                                        )     Case No. 3:12-cv-818
                                          )     Jury Demand
Q CARRIERS, INC. and                      )
MASON T. WILLIAMS,                        )     Judge Sharp
                                          )     Magistrate Judge Knowles
                  Defendants.             )
                                          )
                  and                     )
                                          )
STATE FARM MUTUAL AUTOMOBILE              )
INSURANCE COMPANY a/s/o JAMES W.          )
AND KIM MARABLE,                          )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )
                                          )
MASON T. WILLIAMS and SUMMIT              )
EQUIPMENT LEASING, LLC,                   )
                                          )
                  Defendants.             )
                                          )
                                          )
                                          )
_____________________________________________________________________________

                                    RESPONSE TO ORDER


         Pursuant to the Court's Order [Doc. 8]., Defendants Q Carriers, Inc. ("Q Carriers"),

Mason T. Williams ("Williams"), and Summit Equipment Leasing, LLC ("Summit")

(collectively, "Defendants"), file this Response regarding the citizenship of Summit Equipment

Leasing, LLC, as follows:




N VAS01 922000 v1
2406050-000137 08/17/2012
       Case 3:12-cv-00818 Document 9 Filed 08/17/12 Page 1 of 3 PageID #: 77
           1.     The Civil Action is one of which this Court has diversity of citizenship

jurisdiction pursuant to 28 U.S.C. § 1332 and removal jurisdiction pursuant to 28 U.S.C. § 1441

in that:

           (a)    Defendant Williams, both at the time of filing of the Civil Action and as of the
                  date of filing of this Notice, was and is a citizen of the State of Minnesota;
                  Defendant Q Carriers, both at the time of filing of the Civil Action and as of the
                  date of filing of this Notice, was and is a citizen of the State of Minnesota, in that
                  it is a corporation organized in the State of Minnesota with its principal place of
                  business in Minnesota; and Defendant Summit, both at the time of filing of the
                  Civil Action and as of the date of filing of this Notice, was and is a Limited
                  Liability Company, whose sole member is Scott Moeller, a citizen and resident of
                  the State of Minnesota, at 225 South 6th Street, Ste. 4390, Minneapolis, MN
                  55402.

           (b)    Plaintiffs, both at the time of filing of the Civil Action and as of the date of filing
                  this Notice, were and are citizens of the State of Tennessee.

           (c)    The amount in controversy exceeds $75,000.00.

           (d)    Thus, diversity of citizenship exists between all parties properly joined in that
                  they are citizens of different states and the amount in controversy exceeds
                  $75,000, exclusive of interest and costs.

           (e)    This action is within the original jurisdiction of the Court pursuant to the
                  provisions of 28 U.S.C. § 1332.

Respectfully submitted this 17th day of August, 2012.




                                                   -2-
N VAS01 922000 v1
2406050-000137 08/17/2012
       Case 3:12-cv-00818 Document 9 Filed 08/17/12 Page 2 of 3 PageID #: 78
                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ
                                                      A Professional Corporation


                                              By:     s/ V. Austin Shaver_________________
                                                      Clarence Risin, No. 16874
                                                      V. Austin Shaver, No. 26581
                                                      265 Brookview Centre Way, Suite 600
                                                      Knoxville, Tennessee 37919
                                                      (865) 549-7000
                                                      (865) 633-7213 - Facsimile

                                                      Attorneys for Defendants Q Carriers, Inc.,
                                                      Mason T. Williams, and Summit Equipment
                                                      Leasing, LLC


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 17, 2012 a copy of the foregoing
document was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. All other parties
will be served by regular U.S. mail. Parties may access this filing through the Court’s electronic
filing system.


Morgan G. Adams
Law Offices of Morgan Adams
1419 Market Street
Chattanooga, TN 37402
Attorney for Plaintiffs James and Kim Marable

Samuel A. Baron
1109 17th Ave. S.
Nashville, TN 37212-2203
Attorney for Plaintiff State Farm Mutual
Automobile Insurance Company a/s/o
James W. Marable and Kim Marable


                                                      s/ V. Austin Shaver____________________
                                                      Attorney


                                                -3-
N VAS01 922000 v1
2406050-000137 08/17/2012
       Case 3:12-cv-00818 Document 9 Filed 08/17/12 Page 3 of 3 PageID #: 79
